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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


In re:                                                                Chapter 11

AMYRIS, INC., et al.,                                                 Case No. 23-11131 (TMH)

                                   Debtors.1                          (Jointly Administered)

                                                                      Re Docket No. 1016

              CERTIFICATE OF NO OBJECTION (NO ORDER REQUIRED)
         REGARDING THIRD MONTHLY APPLICATION OF KTBS LAW LLP FOR
          COMPENSATION AND REIMBURSEMENT OF EXPENSES, AS SPECIAL
           COUNSEL FOR THE DEBTORS ON BEHALF OF AND AT THE SOLE
           DIRECTION OF THE INDEPENDENT DIRECTOR, FOR THE PERIOD
              FROM NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

          The undersigned hereby certifies that:

          1.        On December 27, 2023, KTBS Law LLP (“KTBS”), special counsel for the

Debtors on behalf of and at the sole direction of the Independent Director, filed and served its

Fourth Monthly Application of KTBS Law LLP for Compensation and Reimbursement of

Expenses, as Special Counsel for the Debtors on Behalf of and at the Sole Direction of the

Independent Director, for the Period from November 1, 2023 through November 30, 2023

[Docket No. 1016] (the “Application”).

          2.        Objections to the Application were to be filed and served no later than January 10,

2024 by 4:00 p.m. (prevailing Eastern Time). The undersigned has caused the Bankruptcy

Court’s docket in this case to be reviewed, and no answer, objection or other responsive

pleadings to the Application appears thereon. Additionally, no objections to the Application

have been received by the undersigned counsel.

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     A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
     Debtors’ claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.
     principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street,
     Suite 100, Emeryville, CA 94608.



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          3.        Pursuant to the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses of Professionals [Docket No. 279], the Debtors are authorized to

pay KTBS $27,105.20, which represents 80% of the fees ($33,881.50), and $0.00 which

represents the expenses requested in the Application, for a total payment of $27,105.20 for the

period from November 1, 2023 through November 30, 2023, upon the filing of this certificate of

no objection and without the need for entry of a Bankruptcy Court order approving the

Application.

Dated: January 11, 2023                          PACHULSKI STANG ZIEHL & JONES LLP

                                                 /s/ James E. O’Neill
                                                 Richard M. Pachulski (admitted pro hac vice)
                                                 Debra I. Grassgreen (admitted pro hac vice)
                                                 James E. O’Neill (DE Bar No. 4042)
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                                                 Counsel to the Debtors and Debtors in Possession




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